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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                             :
                                                     :
                v.                                   :
                                                     :       CRIM. NO. 18-193-1
DKYLE JAMAL BRIDGES                                  :
KRISTIAN JONES                                       :
ANTHONY JONES                                        :


 GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT DKYLE JAMAL
 BRIDGES’ MOTION IN LIMINE TO EXCLUDE EVIDENCE OF TRAFFICKING OF
           ADDITIONAL VICTIMS AND EXCLUDE PREJUDICIAL
                     INFORMATION AND IMAGES

       Defendant Dkyle Jamal Bridges’ recently filed Motion in Limine to Exclude Evidence of

Trafficking of Additional Victims (ECF No. 142) is a nearly verbatim recitation of his prior

response (ECF No. 73) to the Government’s Motion in Limine to Admit Evidence of Trafficking

of Additional Victims (ECF No. 58). In the interest of efficiency, the Government does not

duplicate that argument here, but rather notes its opposition to the Defendant’s motion and

respectfully incorporates by reference herein its prior filing. See ECF No. 58 at 7-10; see also,

e.g., United States v. Carson, 870 F.3d 584, 598-601 (7th Cir. 2017) (affirming admission of

evidence regarding other women whom the defendant pimped but who were not named victims in

the charged sex trafficking counts). As to the evidence regarding his 2013 assault of a prostitution

customer in front of charged victim Z.W. immediately after Z.W. performed a commercial sex

date, and evidence from charged victim B.T.’s cell phone of Bridges’ brandishing a firearm in a

motel room—raised for the first time in his recent filing—the evidence is intrinsic, direct evidence

of the charged offenses, not contrary to Rule 404(b), and of highly probative value that is not


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substantially outweighed by the entirely fair prejudice to Bridges. For these reasons and any

others adduced at any hearing, Bridges’ motion should be denied.

                                       CONCLUSION

       For the foregoing reasons, the Court should deny the defendant’s motion and find such

evidence admissible.

                                                   Respectfully submitted,

                                                   WILLIAM M. McSWAIN
                                                   United States Attorney


                                                   s/ Jessica Urban
                                                   SETH M. SCHLESSINGER
                                                   Assistant United States Attorney
                                                   JESSICA URBAN
                                                   Trial Attorney
                                                   Child Exploitation & Obscenity Section
                                                   U.S. Department of Justice
Dated: February 13, 2019




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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2019, I filed this document electronically using the

CM/ECF system and thereby caused a copy of the same to be served on all counsel of record.


                                            s/ Jessica Urban
                                            JESSICA URBAN
                                            Trial Attorney
                                            Child Exploitation & Obscenity Section
                                            U.S. Department of Justice




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